                             Case 1:21-cr-00083-TNM Document 73-2 Filed 03/07/22 Page 1 of 6

                                        GOVERNMENT OF THE DISTRICT OF COLUMBIA
                                                Department of Corrections




                                      Modified Medical Stay-in-Place Timeline
                                             Updated February 14, 2022
                       DOC is implementing a gradual update to its modified stay in place policies.
    Some services will resume on February 14, 2022 and additional services will be available as of February 28, 2022.


                 Modified Medical Stay in Place                     Effective February 14, 2022                      Effective Monday,
                  effective December 22, 2021                                                                        February 28, 2022

Legal Visits    Contactless legal visits will only be   In person contact and contactless legal visits resume      No     change      from
                available and no appointment is         without an appointment.        Legal counsel must          February 14, 2022.
                needed. Contact visits will only be     provide proof of vaccination (photocopy along with
                available for residents with jury       valid identification acceptable) or recent PCR
                trials.                                 negative COVID -19 test (within 72 hours of visit).
Video Legal     DOC will increase access to video       DOC provides video legal visits to residents on a          No     change      from
Calls           legal visits to allow attorneys         limited weekly schedule.                                   February 14, 2022.
                greater access to residents for
                video legal visits.
Legal Calls     DOC case management and                 DOC resumes in-person legal visits for all residents       No     change      from
                operations team will continue to        and their legal counsel.                                   February 14, 2022.
                provide legal calls to residents who
                are on quarantine and isolation.        Legal calls will not be provided unless a resident is on
                Please provide email request to:        a quarantine unit or in isolation. Please provide email
                dcdoclegalcalllist@dc.gov               request to: dcdoclegalcalllist@dc.gov



                                                                       1
                                                                                                                       Modified Stay in Place Issued
                                                                                       Pursuant to DOC Policy 5031.1B Appendix 14 – Pandemic Policy
                                                                                                                                Updated 2.14.2022
                               Case 1:21-cr-00083-TNM Document 73-2 Filed 03/07/22 Page 2 of 6

                                         GOVERNMENT OF THE DISTRICT OF COLUMBIA
                                                 Department of Corrections

                   Modified Medical Stay in Place                 Effective February 14, 2022                Effective Monday, February 28,
                     effective December 22, 2021                                                                            2022
Small Groups      DOC is suspending all small             No change.                                       Small group activities will
on Unit           groups activities.                                                                       resume on February 28, 2022.
Small groups                                                                                               DOC will expand small group
are 10 or                                                                                                  sizes in compliance with Mayor’s
fewer                                                                                                      Orders limitations on indoor
residents who                                                                                              gatherings, wearing facemasks,
are donning                                                                                                and requiring social distancing.
masks and                                                                                                  In-person religious services
maintaining                                                                                                resumed for fully vaccinated
social                                                                                                     residents and clergy, volunteers,
distance.                                                                                                  and facilitators who have proof of
                                                                                                           being fully vaccinated.

Access to         The DOC Programs and Case              Residents will continue to have access to         DOC will allow for in-person small
Public Health,    Management (PCM) Division are          APDS and Global Tel Link (GTL) tablets for        group sessions for the agency’s
Social Services   suspending in person small group       public health, social services and residential    program units and areas and
and               actively and volunteer services.       support services.                                 continue with access to tablet
Residential       However, programming will be                                                             programming.
Support           made available via a virtual option,
Services          including religious services.
through the
Programs and      Voting services, inmate grievance
Case              services, case management
Management        services and the READY Center
Division          services never ceased during the
                  COVID-19 pandemic.




                                                                        2
                                                                                                                        Modified Stay in Place Issued
                                                                                        Pursuant to DOC Policy 5031.1B Appendix 14 – Pandemic Policy
                                                                                                                                 Updated 2.14.2022
                              Case 1:21-cr-00083-TNM Document 73-2 Filed 03/07/22 Page 3 of 6

                                        GOVERNMENT OF THE DISTRICT OF COLUMBIA
                                                Department of Corrections

                Modified Medical Stay in Place effective           Effective February 14, 2022                Effective February 28, 2022
                         December 22, 2021
Access to       Educational services will be provided for   Residents will continue to have access to the College and Career Readiness (CCR)
Education and   clusters of no more than two to three       American Prison Data Systems (APDS)           Division will resume in-person
Programs        individuals with social distancing and      tablets for educational, vocational, and      educational instruction and GED
through         following Mayor’s Orders regarding          social programs and services.                 Ready testing on designated housing
DOC’s College   wearing appropriate P P E .                                                               units.
and Career      Additionally, educational services will     Masks and maintaining social distancing
Readiness       be provided virtually and via the           continue to be required.
Division        students receiving educational packets.
Barbering &     Barbering and cosmetology will be           Barbering and cosmetology services           Barbering and cosmetology
Cosmetology     suspended for vaccinated residents,         resume for those with upcoming jury          services resume for f u l l y
                except for those with upcoming jury         trials.                                      v a c c i n a t e d residents and
                trials.                                                                                  those with upcoming jury trials.
Detail          Detail workers could only work              No change.                                   DOC may allow fully vaccinated
inmate          within the units, with some very                                                         (including a booster if within the
workers         limited exceptions.                                                                      required time period) residents to
within DOC                                                                                               engage as detail workers within
                                                                                                         DOC’s environmental and
                                                                                                         maintenance divisions up to 5 in a
                                                                                                         group. The residents must be
                                                                                                         willing to engage in COVID
                                                                                                         testing as requested. DOC
                                                                                                         Operations Team, will determine
                                                                                                         when and if to resume inmate
                                                                                                         detail workers and the program
                                                                                                         may also be suspended at any time.
                                                                                                         No DOC resident is guaranteed an
                                                                                                         inmate detail position.

                                                                      3
                                                                                                                     Modified Stay in Place Issued
                                                                                     Pursuant to DOC Policy 5031.1B Appendix 14 – Pandemic Policy
                                                                                                                              Updated 2.14.2022
                                  Case 1:21-cr-00083-TNM Document 73-2 Filed 03/07/22 Page 4 of 6

                                             GOVERNMENT OF THE DISTRICT OF COLUMBIA
                                                     Department of Corrections

                   Modified Medical Stay in Place                         Effective February 14, 2022                  Effective February 28, 2022
                    effective December 22, 2021
Legal        DOC in partnership with University of the              The legal research library continues to be      DCPL will resume mobile library
Research     District of Columbia (UDC) Law School’s DOC            available to residents via tablets for 12       services at CF. Residents continue
and          Legal Research Clinic. Law students and                hours each day. Residents electronically        to have access to an e-reading,
University   professors will continue to conduct virtual            submit requests on forms located on             audible, recovery and legal
             classes on resident tablets on legal research
Classes                                                             tablets. Requests are immediately               research/law library on their tablets.
             topics and skills and respond to requests for
                                                                    submitted electronically to DOC law
             research assistance via tablet messaging. Howard
             University Law School, American University             library staff.                                  University courses will continue to
             Law School, and the Illinois State University                                                          be provided virtually via education
             Law Library staff and students will join UDC           DOC staff members, including a licensed         tablets.
             Law School in conducting virtual classes on            attorney, assist in researching requested
             resident tablets on legal research topics and          materials, and a DOC CCR staff member            Law library staff will continue to
             skills and respond to requests for research            provides technical support to all residents      reply to inmate requests for copies
             assistance through a live chat help desk via tablet    related to tablet use and delivers all copies    and supplies and continue to visit
             messaging.                                             of requested materials.                          all housing units where inmates do
                                                                                                                     not have access to an education
             DC Public Library in person services will be                                                            tablet at least weekly.
             temporally suspended. However, residents will
             continue to enjoy access to over 5,000 e-books,
             audio books, and other reading materials on their
             tablets. Residents also have full access to the law
             library search engine on their tablets.

             DOC staff members, including one who is a
             licensed attorney, assist in researching requested
             materials, and a DOC CCR staff member provides
             technical support to all residents related to tablet
             use and delivers all copies of requested materials.




                                                                              4
                                                                                                                               Modified Stay in Place Issued
                                                                                               Pursuant to DOC Policy 5031.1B Appendix 14 – Pandemic Policy
                                                                                                                                        Updated 2.14.2022
                              Case 1:21-cr-00083-TNM Document 73-2 Filed 03/07/22 Page 5 of 6

                                           GOVERNMENT OF THE DISTRICT OF COLUMBIA
                   Modified Medical Stay in Place effectiveDepartment of Effective
                                                                         Corrections
                                                                                   February 14, 2022             Effective February 28, 2022
                               December 22, 2021
Video        Video visitation will be suspended in response to      DOC will resume video                     No change from February 14,
Visitation   current COVID-19 pandemic numbers and the need visitation at CDF.                                2022.
             to help prevent the spread of COVID-19 by
             curtailing community movement and to protect
             DOC staff from potential COVID exposure with
             community members visiting the facility. Video
             visitation will resume once all housing units at DOC
             have been removed from quarantine and isolation
Access to    Int social
                 t      person visitation and family visitation is DOC residents have access to the           No change from February 14, 2022.
Family and   suspended at CDF and CTF until all housing units      GTL tablets.
Friends      at DOC are removed from quarantine and
             isolation status. DOC has continued expanding         In-person visits at CTF and face-to-
             the provision of telephone services and has over      face visits at CDF will resume for fully
             500 GTL-provided tablets to residents.                vaccinated residents and visitors who
                                                                   have proof of being fully vaccinated.
             Low cost text messaging is also accessible to
             residents via the GTL tablets. The text
             messages are a new way of connecting
             residents to their loved ones that was not
             available before the pandemic.
DOC          Out-of-cell time w i l l b e 2 hours per day at CDF    In non-restrictive housing units, out-of- DOC will resume pre-pandemic
Resident     and CTF until all housing units at DOC are             cell time w i l l b e 3 hours per day at levels of daily out-of-cell time to
Housing      removed from quarantine and isolation status.          CDF and CTF.                              all residents (approximately 5
(Out of                                                                                                       hours per day on each unit except
cell time)                                                                                                    for restrictive housing units).

Outdoor      Out-of-cell time w i l l b e 2 hours per               No change                                 Outdoor recreation will be
Recreation   day at CDF and CTF until all housing                                                             offered; contingent upon
             units at DOC are removed from                                                                    weather and staffing conditions.
             quarantine and isolation status.
                                                                       5
                                                                                                                        Modified Stay in Place Issued
                                                                                        Pursuant to DOC Policy 5031.1B Appendix 14 – Pandemic Policy
                                                                                                                                 Updated 2.14.2022
                               Case 1:21-cr-00083-TNM Document 73-2 Filed 03/07/22 Page 6 of 6

                                           GOVERNMENT OF THE DISTRICT OF COLUMBIA
                                                   Department of Corrections

                  Modified Medical Stay in Place effective               Effective February 14, 2022               Effective February 28, 2022
                              December 22, 2021
Court         DOC continued to transport residents to court     DOC will continue to transport residents    No change from February 14, 2022.
Appearances   as long as the courts are operating.              to and from court as requested.

The READY     The READY Center is providing virtual             No change                                    No change
Center        services to returning citizens. Upon release
              from DOC, DOC’s Inmate Reception Center
              (IRC) provided all residents with the READY
              Center packets and the phone number to alert
              returning citizens how to contact the READY
              Center staff for services. All calls are
              forwarded to the READY Center staff to triage
              all service requests and to connect returning
              citizens for services.


Vaccine       Unity Healthcare medical staff will continue      No change                                   No change
Education     to provide vaccine education to residents at
              intake and by walking the units.

              Vaccines are still available for all residents
              and boosters are still being offered. All new
              residents are notified at intake on vaccination
              services. DOC also provides vaccine
              education on residents’ tablets and in housing
              units. Unity Healthcare medical staff provide
              in-person educational information to residents
              on the benefits of vaccination.



                                                                     6
                                                                                                                      Modified Stay in Place Issued
                                                                                      Pursuant to DOC Policy 5031.1B Appendix 14 – Pandemic Policy
                                                                                                                               Updated 2.14.2022
